Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 1 of 30 Page ID #:545




           EXHIBIT 1
Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 2 of 30 Page ID #:546




  Uncle George Productions LLC                                                            April 21, 2020
  Attn: Catherine Wolf McGrath                                                        Invoice #
  18 Camps Blvd., Suite 100                                                        ELECTRONIC BILLING
  Newtown Square, PA 19073


  Matter Name: Gregorini Claim
  Firm Matter Number: 0113237.000003
  DWT Attorney: Nicolas Jampol (nicolasjampol@dwt.com)

  Client's Matter Number:
                                         Invoice for Fees and Costs
                                    ELECTRONIC BILLING – DO NOT MAIL
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   Total Current Fees
   Total Current Costs


   Total Amount Due This Invoice                                                         $




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 3 of 30 Page ID #:547

  Client Name: Uncle George Productions LLC
  Firm Matter Number: 0113237.000003
  DWT Attorney: Nicolas Jampol                                                                 Invoice #
                                                                                                      Page 2 of 7




                                                     PROFESSIONAL FEES RENDERED:

  DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 4 of 30 Page ID #:548

  Client Name: Uncle George Productions LLC
  Firm Matter Number: 0113237.000003
  DWT Attorney: Nicolas Jampol                                                                 Invoice #
                                                                                                      Page 3 of 7




  DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 5 of 30 Page ID #:549

  Client Name: Uncle George Productions LLC
  Firm Matter Number: 0113237.000003
  DWT Attorney: Nicolas Jampol                                                                                   Invoice #
                                                                                                                        Page 4 of 7




  DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




  11/29/19        N. Jampol            L120     A104           6.60        3,570.60 Review Episodes 1 through 6 and prepare
                                                                                    notes regarding same
  11/30/19        N. Jampol            L120     A106           0.60          324.60 Review correspondence from claimant's
                                                                                    counsel and communicate with client regarding
                                                                                    same



  11/30/19        N. Jampol            L120     A104           3.60        1,947.60 Review Episodes 7 through 10 and prepare
                                                                                    notes regarding same


  TOTAL




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 6 of 30 Page ID #:550
                                                                                                            Suite 3300
                 Davis Wright                                                                               920 Fifth Avenue
                                                                                                            Seattle, WA 98104-1610

                 Tremaine LLP                                                                               206.622.3150 tel
                                                                                                            206.757.7700 fax
                                                                                                            Federal ID #
   A nc ho ra ge | B e lle v ue | Lo s A n g e le s | Ne w Yo rk
                                                                                                            www.dwt.com
   Portland | San Francisco | Seattle | Washington, D.C.




  Uncle George Productions LLC                                                                         January 07, 2020
  Attn: Catherine Wolf McGrath                                                                     Invoice No.
  18 Camps Blvd., Suite 100                                                                 SENT ELECTRONICALLY
  Newtown Square, PA 19073



                                                     JANUARY INVOICE FOR
                                                         STATEMENT OF
                                                  SERVICES AND DISBURSEMENTS
                                  ELECTRONIC BILLING - DO NOT MAIL
                                                 FOR FILING PURPOSES ONLY
  Matter No.:     0113237-000003
  Gregorini Claim


  Client Reference:



                                             ABA ACT.
  DATE     PROFESSIONAL                     CODE CODE              TIME     AMOUNT      DESCRIPTION OF SERVICES
  12/01/19 N. Jampol                         L120 A103               1.80     973.80    Prepare preliminary assessment of
                                                                                        substantial similarity and communicate
                                                                                        with client regarding same




  12/02/19 N. Jampol                           L210       A104       2.60    1,406.60   Review and analyze draft complaint
                                                                                        and communicate with client, Apple,
                                                                                        and Ms. Verdi regarding same
Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 7 of 30 Page ID #:551



  Uncle George Productions LLC
  Invoice No.
  Page 2

                                  ABA ACT.
  DATE     PROFESSIONAL          CODE CODE      TIME    AMOUNT     DESCRIPTION OF SERVICES




  12/03/19 N. Jampol              L120   A104    0.80     432.80   Preliminary review of              and
                                                                   prepare brief analysis regarding same in
                                                                   connection with assessment of claim


  12/04/19 C. Pedraza             L110   A102    1.50     421.50   Research and analyze



                                                                   update memorandum to aid motion to
                                                                   dismiss




  12/05/19 C. Pedraza             L110   A102    1.10     309.10   Review and analyze substantially
                                                                   similar elements in various works and
                                                                   prepare memorandum to aid in motion
                                                                   to dismiss
  12/05/19 N. Jampol              L120   A106    1.10     595.10   Review correspondence from claimant's
                                                                   counsel and communicate with client
                                                                   and Apple regarding response to same




  12/06/19 N. Jampol              L120   A107    1.10     595.10   Communicate with client and
                                                                   claimant's counsel regarding


  12/09/19 N. Jampol              L120   A107    1.30     703.30   Review correspondence from claimant's
                                                                   counsel regarding potential defendants
                                                                   and conduct preliminary research
                                                                   regarding
Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 8 of 30 Page ID #:552



  Uncle George Productions LLC
  Invoice No.
  Page 3

                                  ABA ACT.
  DATE     PROFESSIONAL          CODE CODE      TIME     AMOUNT       DESCRIPTION OF SERVICES
  12/10/19 N. Jampol              L120 A107       2.30    1,244.30    Review correspondence to Apple
                                                                      regarding allegations, communicate
                                                                      with Apple, client, and Hiscox
                                                                      regarding same, and communicate with
                                                                      claimant's counsel regarding same
  12/11/19 N. Jampol              L210   A106     1.60      865.60    Communicate with client
                                                                                           regarding
                                                                                  and communicate with
                                                                      claimant's counsel regarding same


  12/13/19 N. Jampol              L120   A106     0.30      162.30    Communicate with client regarding
                                                                      allegations and potential responses
  12/14/19 C. Pedraza             L213   A102     1.00      281.00    Review and analyze substantially
                                                                      similar elements in various works and
                                                                      update memorandum to aid in motion
                                                                      to dismiss
  12/15/19 C. Pedraza             L110   A102     1.80      505.80    Review and analyze substantially
                                                                      similar elements in various works and
                                                                      update memorandum to aid in motion
                                                                      to dismiss
  12/16/19 C. Pedraza             L110   A102     3.60     1,011.60   Review and analyze substantially
                                                                      similar elements in various works and
                                                                      update memorandum to aid in motion
                                                                      to dismiss
  12/17/19 C. Freeman             L240   A103     2.20      796.40    Prepare outline for motion to dismiss
                                                                      complaint and identify areas of research
                                                                      for same
  12/17/19 C. Pedraza             L110   A102     2.80      786.80    Review and analyze substantially
                                                                      similar elements in various works and
                                                                      update memorandum to aid in motion
                                                                      to dismiss




  12/18/19 C. Pedraza             L110   A102     3.60     1,011.60   Review and analyze substantially
                                                                      similar elements in various works and
                                                                      update memorandum to aid in motion
                                                                      to dismiss




  12/27/19 C. Freeman             L240   A104     0.60      217.20    Analyze purported similarities between
                                                                      plaintiff's work and Servant in
                                                                      connection with motion to dismiss
Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 9 of 30 Page ID #:553



  Uncle George Productions LLC
  Invoice No.
  Page 4

                                  ABA ACT.
  DATE     PROFESSIONAL          CODE CODE      TIME     AMOUNT      DESCRIPTION OF SERVICES
  12/27/19 N. Jampol              L120 A103       1.30     703.30    Review
                                                                          and strategize


  12/30/19 C. Freeman             L240   A104     2.40      868.80   Review works at issue and prepare
                                                                     notes regarding same for purposes of
                                                                     motion to dismiss complaint for lack of
                                                                     substantial similarity
  12/31/19 C. Freeman             L240   A104     2.10      760.20   Continue review of works at issue and
                                                                     prepare notes regarding same for
                                                                     purposes of motion to dismiss
                                                                     complaint for lack of substantial
                                                                     similarity
  12/31/19 N. Jampol              L120   A107     0.10       54.10   Communicate with Plaintiff's counsel
                                                                     regarding complaint
           Total Services
Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 10 of 30 Page ID #:554




   Uncle George Productions LLC                                                        February 29, 2020
   Attn: Catherine Wolf McGrath                                                        Invoice #
   18 Camps Blvd., Suite 100                                                        ELECTRONIC BILLING
   Newtown Square, PA 19073


   Matter Name: Gregorini Claim
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol (nicolasjampol@dwt.com)

   Client's Matter Number:
                                          Invoice for Fees and Costs
                                     ELECTRONIC BILLING – DO NOT MAIL
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   Total Current Fees
   Total Current Costs


   Total Amount Due This Invoice                                                          $




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 11 of 30 Page ID #:555

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                    Invoice #
                                                                                                                         Page 2 of 10




                                                      PROFESSIONAL FEES RENDERED:

   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   01/02/20        N. Jampol            L120     A107           1.30          703.30 Communicate with Mr. Basgallop regarding
                                                                                     allegations and response, and prepare
                                                                                     correspondence to Plaintiff's counsel regarding
                                                                                     allegations in complaint


   01/02/20        C. Freeman           L240     A104           5.10        1,846.20 Review works at issue and take notes regarding
                                                                                     same to draft motion to dismiss




   01/05/20        C. Pedraza           L110     A102           3.30          927.30 Analyze
                                                                                                                                for
                                                                                        motion to dismiss
   01/06/20        N. Jampol            L120     A106           0.30          162.30 Communicate with client regarding



   01/07/20        N. Jampol            L120     A106           0.20          108.20 Communicate with client regarding


   01/07/20        C. Freeman           L120     A104           0.90          325.80 Review other works featuring similar concepts
                                                                                     in connection with motion to dismiss
   01/10/20        N. Jampol            L213     A104           2.30        1,244.30 Review alleged similarities and research
                                                                                     regarding each, and strategize regarding
                                                                                     treatment of same in motion to dismiss
   01/10/20        C. Pedraza           L110     A102           4.00        1,124.00 Analyze

                                                                                                                        for motion
                                                                                        to dismiss
   01/11/20        C. Pedraza           L110     A102           3.00          843.00 Analyze

                                                                                                                        for motion
                                                                                        to dismiss




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 12 of 30 Page ID #:556

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                     Invoice #
                                                                                                                          Page 3 of 10




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   01/13/20        C. Pedraza           L110     A102           2.00          562.00 Analyze substantial similarity elements and
                                                                                     different extrinsic elements for motion to
                                                                                     dismiss




   01/14/20        C. Freeman           L120     A102           2.70          977.40 Research

   01/14/20        C. Pedraza           L110     A102           3.70        1,039.70 Analyze substantial similarity elements and
                                                                                     different extrinsic elements for motion to
                                                                                     dismiss




   01/14/20        C. Pedraza           L110     A102           1.00          281.00 Analyze information regarding
                                                                                                                                   for
                                                                                        motion to dismiss
   01/15/20        N. Jampol            L120     A104           4.60        2,488.60 Review complaint and research regarding
                                                                                     similar works and statements by plaintiff, and
                                                                                     strategize with clients regarding response to
                                                                                     lawsuit and motion to dismiss




   01/15/20        C. Pedraza           L110     A102           1.80          505.80 Analyze
                                                                                                                  for motion to
                                                                                        dismiss
   01/15/20        C. Pedraza           L110     A102           1.00          281.00 Analyze information regarding
                                                                                                                                   for
                                                                                        motion to dismiss



   01/16/20        N. Jampol            L120     A104           2.60        1,406.60 Review information about
                                                                                                           regarding substantial
                                                                                     similarity assessments on motions to dismiss,




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 13 of 30 Page ID #:557

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                       Invoice #
                                                                                                                            Page 4 of 10




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE



   01/16/20        C. Freeman           L240     A103           1.50          543.00 Analyze
                                                                                                                      to incorporate
                                                                                        into motion to dismiss
   01/16/20        C. Pedraza           L110     A102           1.20          337.20 Analyze
                                                                                                                    for motion to
                                                                                        dismiss




   01/17/20        C. Pedraza           L110     A102           0.60          168.60 Analyze                                        for
                                                                                     motion to dismiss
   01/18/20        N. Jampol            L213     A104           5.30        2,867.30 Review cases regarding lists of similarities,
                                                                                     review underlying briefing regarding same, and
                                                                                     review descriptions of potentially similar works
                                                                                     for purposes of motion to dismiss
   01/18/20        C. Freeman           L240     A103           2.30          832.60 Draft factual and procedural background
                                                                                     section of motion to dismiss
   01/18/20        C. Pedraza           L110     A102           1.10          309.10 Analyze

                                                                                                  for motion to dismiss
   01/19/20        N. Jampol            L213     A103           5.80        3,137.80 Strategize regarding theme and structure of
                                                                                     motion to dismiss and prepare introduction to
                                                                                     same
   01/19/20        C. Freeman           L240     A103           0.60          217.20 Review and incorporate additional research
                                                                                     from C. Pedraza into motion to dismiss
   01/19/20        C. Pedraza           L213     A104           0.30           84.30 Analyze numerous elements of alleged
                                                                                     similarities that do not amount to substantial
                                                                                     similarity for motion to dismiss
   01/19/20        C. Pedraza           L213     A104           0.70          196.70 Analyze alleged similarities in first episode of
                                                                                     Servant for motion to dismiss
   01/19/20        C. Pedraza           L213     A104           0.70          196.70 Analyze alleged similarities in second episode
                                                                                     of Servant for motion to dismiss
   01/19/20        C. Pedraza           L213     A104           0.70          196.70 Analyze alleged similarities in third episode of
                                                                                     Servant for motion to dismiss


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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 14 of 30 Page ID #:558

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                        Invoice #
                                                                                                                             Page 5 of 10




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   01/20/20        N. Jampol            L120     A104           1.10          595.10 Communicate with client regarding service of
                                                                                     complaint and responsive motion
   01/20/20        N. Jampol            L213     A103           2.40        1,298.40 Strategize regarding structure of motion to
                                                                                     dismiss and revise proposed outline for same
   01/20/20        C. Freeman           L240     A103           2.80        1,013.60 Draft outline of legal arguments for motion to
                                                                                     dismiss
   01/20/20        C. Pedraza           L110     A102           1.40          393.40 Analyze generic elements for judicial notice for
                                                                                     motion to dismiss
   01/21/20        C. Freeman           L240     A103           3.50        1,267.00 Research and draft sections of motion to
                                                                                     dismiss arguing that substantial similarity may
                                                                                     be decided at the MTD phase and that courts
                                                                                     must filter out unprotected elements in
                                                                                     determining substantial similarity




   01/22/20        C. Freeman           L240     A103           4.90        1,773.80 Research and draft plot and sequence of
                                                                                     events sections of substantial similarity
                                                                                     argument for motion to dismiss
   01/23/20        N. Jampol            L120     A106           2.30        1,244.30 Prepare for and communicate with clients
                                                                                     regarding service of complaint, assigned judge,
                                                                                     and dispositive motions
   01/23/20        N. Jampol            L210     A107           0.10           54.10 Communicate with Plaintiff's counsel regarding
                                                                                     service of complaint


   01/24/20        N. Jampol            L213     A106           0.30          162.30 Communicate with Mr. Koehler regarding
                                                                                     motion to dismiss
   01/24/20        C. Freeman           L240     A103           3.40        1,230.80 Research and draft theme section of
                                                                                     substantial similarity argument for motion to
                                                                                     dismiss
   01/26/20        C. Freeman           L240     A103           5.50        1,991.00 Research and draft theme character section of
                                                                                     substantial similarity argument for motion to
                                                                                     dismiss
   01/26/20        C. Pedraza           L213     A104           1.20          337.20 Analyze

                                                                                               for motion to dismiss




   01/27/20        C. Freeman           L240     A103           4.60        1,665.20 Research and draft mood and characters
                                                                                     sections of substantial similarity argument for
                                                                                     motion to dismiss


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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 15 of 30 Page ID #:559

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                       Invoice #
                                                                                                                            Page 6 of 10




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   01/28/20        N. Jampol            L210     A106           0.80          432.80 Communicate with clients and Plaintiff's
                                                                                     counsel regarding service of complaint and
                                                                                     response to same



   01/28/20        C. Freeman           L240     A103           0.50          181.00 Revise motion to dismiss legal arguments
   01/29/20        N. Jampol            L213     A104           3.30        1,785.30 Review cases regarding unprotectable
                                                                                     elements under copyright law and judicial
                                                                                     skepticism of lists of similarities in complaints
                                                                                     in connection with motion to dismiss
   01/29/20        C. Freeman           L240     A103           3.40        1,230.80 Research and draft pace and dialogue sections
                                                                                     of substantial similarity argument for motion to
                                                                                     dismiss
   01/30/20        N. Jampol            L213     A103           3.10        1,677.10 Review preliminary draft of motion to dismiss
                                                                                     and prepare comments regarding structure and
                                                                                     organization of brief
   01/30/20        C. Freeman           L240     A103           4.80        1,737.60 Refine and revise motion to dismiss
   01/31/20        C. Freeman           L120     A104           0.30          108.60 Review judge's standing order to determine
                                                                                     additional required filings (.3)


   TOTAL




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 16 of 30 Page ID #:560




   Uncle George Productions LLC                                                            April 21, 2020
   Attn: Catherine Wolf McGrath                                                        Invoice #
   18 Camps Blvd., Suite 100                                                        ELECTRONIC BILLING
   Newtown Square, PA 19073


   Matter Name: Gregorini Claim
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol (nicolasjampol@dwt.com)

   Client's Matter Number:
                                          Invoice for Fees and Costs
                                     ELECTRONIC BILLING – DO NOT MAIL
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   Total Current Fees
   Total Current Costs


   Total Amount Due This Invoice                                                          $




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 17 of 30 Page ID #:561

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                      Invoice #
                                                                                                                            Page 2 of 9




                                                      PROFESSIONAL FEES RENDERED:

   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   02/01/20        N. Jampol            L213     A104           2.60        1,406.60 Factual research regarding scenes a faire and
                                                                                     generic elements in connection with motion to
                                                                                     dismiss
   02/03/20        C. Pedraza           L110     A102           1.90          533.90 Analyze underwater scenes in different works
                                                                                     for argument in motion to dismiss

   02/04/20        N. Jampol            L213     A103           6.80        3,678.80 Review and revise motion to dismiss complaint
                                                                                     for lack of substantial similarity
   02/04/20        C. Pedraza           L110     A102           0.30           84.30 Review and analyze

   02/04/20        C. Pedraza           L110     A102           5.80        1,629.80 Analyze episodes of Servant to review and
                                                                                     assess alleged similarities for motion to dismiss
   02/05/20        N. Jampol            L213     A107           0.20          108.20 Communicate with Plaintiff's counsel regarding
                                                                                     meet and confer in connection with motion to
                                                                                     dismiss
   02/05/20        N. Jampol            L213     A103           5.30        2,867.30 Further revisions to motion to dismiss
                                                                                     complaint for lack of substantial similarity
   02/05/20        C. Pedraza           L110     A102           1.40          393.40 Analyze descriptions of claimant's film and
                                                                                     themes from articles and interviews for motion
                                                                                     to dismiss
   02/05/20        C. Pedraza           L110     A102           4.10        1,152.10 Research regarding limiting similarity analysis
                                                                                     to certain episodes (as Plaintiff has argued) in
                                                                                     connection with motion to dismiss
   02/06/20        N. Jampol            L213     A103           4.70        2,542.70 Further revisions to motion to dismiss
                                                                                     complaint for lack of substantial similarity




   02/06/20        C. Freeman           L240     A103           2.00          724.00 Review and revise motion to dismiss to reflect
                                                                                     comments from clients
   02/07/20        N. Jampol            L213     A103           3.80        2,055.80 Further revisions to motion to dismiss
                                                                                     complaint for lack of substantial similarity and
                                                                                     communicate with clients regarding same



   02/09/20        N. Jampol            L213     A103           0.30          162.30 Review and revise joint statement regarding
                                                                                     conference of counsel in connection with
                                                                                     motion to dismiss




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 18 of 30 Page ID #:562

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                      Invoice #
                                                                                                                            Page 3 of 9




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   02/10/20        N. Jampol            L213     A103           2.60        1,406.60 Review comments by client and revise motion
                                                                                     to dismiss to reflect same
   02/10/20        N. Jampol            L213     A104           3.30        1,785.30 Review cases regarding limiting similarity
                                                                                     analysis to particular episodes and prepare
                                                                                     section of request for motion to dismiss and
                                                                                     request for udicial notice regarding the court's
                                                                                     consideration of all episodes
   02/10/20        C. Freeman           L240     A103           1.30          470.60 Draft request for judicial notice in support of
                                                                                     motion to dismiss
   02/11/20        N. Jampol            L213     A107           3.30        1,785.30 Prepare for and attend conference of counsel
                                                                                     regarding motion to dismiss, revise joint
                                                                                     statement regarding same, and communicate
                                                                                     with clients regarding same
   02/11/20        N. Jampol            L213     A106           2.70        1,460.70 Communicate with Mr. Koehler regarding
                                                                                     motion to dismiss and revise brief to reflect
                                                                                     comments regarding same




   02/12/20        N. Jampol            L213     A106           4.30        2,326.30 Communicate with clients regarding motion to
                                                                                     dismiss and further revise brief to reflect
                                                                                     comments regarding same
   02/12/20        C. Freeman           L240     A103           4.70        1,701.40 Continue research in connection with request
                                                                                     for judicial notice and continue preparation of
                                                                                     request for judicial notice
   02/13/20        N. Jampol            L213     A107           1.80          973.80 Communicate with Plaintiff's counsel regarding
                                                                                     joint statement about conference of counsel,
                                                                                     review revisions to same, communicate with
                                                                                     clients regarding same, and revise to reflect
                                                                                     same



   02/13/20        C. Freeman           L240     A103           6.90        2,497.80 Continue research for request for judicial
                                                                                     notice, including works featuring a parents
                                                                                     treating a doll as a child, and prepare request
                                                                                     for judicial notice to reflect same
   02/13/20        C. Pedraza           L110     A102           2.10          590.10 Research regarding reborn doll therapy in
                                                                                     connection with motion to dismiss and request
                                                                                     for judicial notice




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 19 of 30 Page ID #:563

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                      Invoice #
                                                                                                                            Page 4 of 9




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   02/14/20        N. Jampol            L213     A103           2.80        1,514.80 Review request for judicial notice in support of
                                                                                     motion to dismiss, revise same, and
                                                                                     communicate with clients regarding same
   02/14/20        N. Jampol            L213     A106           1.80          973.80 Communicate with clients regarding joint
                                                                                     statement in connection with motion to
                                                                                     dismiss, revise in connection with same, and
                                                                                     communicate with Plaintiff's counsel regarding
                                                                                     same




   02/14/20        C. Freeman           L240     A103           2.10          760.20 Continue preparation of request for judicial
                                                                                     notice in support of motion to dismiss
   02/14/20        C. Freeman           L240     A103           1.10          398.20 Draft declaration to support request for judicial
                                                                                     notice and motion to dismiss
   02/15/20        N. Jampol            L213     A103           5.80        3,137.80 Further revise motion to dismiss plaintiff's
                                                                                     complaint and supporting documents,
                                                                                     including request for judicial notice, and
                                                                                     communicate with clients regarding same




   02/15/20        C. Freeman           L240     A103           9.80        3,547.60 Revise motion to dismiss and request for
                                                                                     judicial notice to incorporate comments from
                                                                                     clients, and draft supporting documents



   02/16/20        N. Jampol            L213     A103           5.30        2,867.30 Communicate with clients regarding motion to
                                                                                     dismiss and further revise motion to dismiss
                                                                                     plaintiff's complaint to reflect same
   02/17/20        N. Jampol            L213     A103           5.80        3,137.80 Communicate with clients regarding motion to
                                                                                     dismiss and further revise motion to dismiss
                                                                                     plaintiff's complaint and request for judicial
                                                                                     notice to reflect same
   02/17/20        C. Freeman           L240     A103           7.20        2,606.40 Review and revise motion to dismiss and
                                                                                     request for judicial notice to incorporate
                                                                                     comments from clients
   02/17/20        C. Pedraza           L110     A102           2.50          702.50 Analyze complaint and motion to dismiss to
                                                                                     ensure that all alleged similarities were
                                                                                     addressed in motion to dismiss, and prepare
                                                                                     comments in connection with same




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 20 of 30 Page ID #:564

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                     Invoice #
                                                                                                                           Page 5 of 9




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




   02/18/20        C. Freeman           L240     A103           6.80        2,461.60 Review and revise motion to dismiss,
                                                                                     declaration, request for judicial notice,
                                                                                     proposed order, and notice of lodging to




   02/26/20        C. Freeman           L240     A108           0.20           72.40 Review communications from plaintiff's
                                                                                     counsel regarding amending complaint and
                                                                                     strategize motion to dismiss same


   TOTAL




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 21 of 30 Page ID #:565




   Uncle George Productions LLC                                                            April 21, 2020
   Catherine Wolf McGrath                                                              Invoice #
   18 Camps Blvd., Suite 100                                                        ELECTRONIC BILLING
   Newtown Square, PA 19073


   Matter Name: Gregorini Claim
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol (nicolasjampol@dwt.com)

   Client's Matter Number:
                                          Invoice for Fees and Costs
                                     ELECTRONIC BILLING – DO NOT MAIL
                                         FOR FILING PURPOSES ONLY


   Total Current Fees
   Total Current Costs


   Total Amount Due This Invoice                                                          $




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 22 of 30 Page ID #:566

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                      Invoice #
                                                                                                                            Page 2 of 8




                                                      PROFESSIONAL FEES RENDERED:

   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   03/02/20        N. Jampol            L213     A106           0.30          162.30 Communicate with clients regarding




   03/10/20        N. Jampol            L210     A104           1.80          973.80 Review first amended complaint and
                                                                                     communicate with clients regarding same
   03/10/20        C. Freeman           L240     A104           1.80          651.60 Review allegations in first amended complaint
                                                                                     to draft motion to dismiss same




   03/11/20        N. Jampol            L213     A106           0.60          324.60 Communicate with clients regarding amended
                                                                                     complaint and motion to dismiss same




   03/12/20        C. Freeman           L240     A103           5.80        2,099.60 Conduct research and draft argument in
                                                                                     motion to dismiss amended complaint
                                                                                     regarding failure of claims relating to draft
                                                                                     scripts
   03/13/20        N. Jampol            L213     A103           0.20          108.20 Communicate with Plaintiff's counsel and court
                                                                                     clerk regarding meet and confer for motion to
                                                                                     dismiss first amended complaint
   03/13/20        C. Freeman           L240     A103           4.30        1,556.60 Prepare introduction and statement of facts for
                                                                                     motion to dismiss first amended complaint




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 23 of 30 Page ID #:567

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                      Invoice #
                                                                                                                            Page 3 of 8




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   03/13/20        C. Pedraza           L110     A102           1.00          281.00 Review and analyze
                                                                                            regarding therapy using reborn dolls in
                                                                                     connection with request for judicial notice



   03/14/20        C. Freeman           L240     A103           3.20        1,158.40 Update arguments from motion to dismiss
                                                                                     initial complaint to reflect additional or
                                                                                     changed allegations in connection with motion
                                                                                     to dismiss first amended complaint




   03/16/20        N. Jampol            L213     A103           5.30        2,867.30 Review and revise motion to dismiss first
                                                                                     amended complaint
   03/16/20        C. Freeman           L240     A103           1.50          543.00 Review
                                                                                                     to potentially incorporate into
                                                                                        motion to dismiss
   03/16/20        C. Pedraza           L110     A102           5.20        1,461.20 Review and analyze issue of


                                                                                                     for motion to dismiss
   03/17/20        N. Jampol            L213     A103           3.80        2,055.80 Continue revisions to motion to dismiss first
                                                                                     amended complaint and communicate with
                                                                                     clients regarding same




   03/17/20        C. Freeman           L240     A103           3.80        1,375.60 Review and review motion to dismiss first
                                                                                     amended complaint
   03/18/20        N. Jampol            L213     A106           2.10        1,136.10 Communicate with clients regarding motion to
                                                                                     dismiss first amended complaint and revise
                                                                                     motion in connection with same




   03/18/20        C. Freeman           L240     A103           3.40        1,230.80 Prepare request for judicial notice in support of
                                                                                     motion to dismiss first amended complaint



   03/19/20        N. Jampol            L213     A106           0.30          162.30 Communicate with clients regarding motion to
                                                                                     dismiss first amended complaint
   03/20/20        N. Jampol            L213     A103           2.60        1,406.60 Review and revise request for judicial notice
                                                                                     and supporting documents, and communicate
                                                                                     with clients regarding same




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 24 of 30 Page ID #:568

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                     Invoice #
                                                                                                                           Page 4 of 8




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   03/20/20        C. Freeman           L240     A103           1.60          579.20 Revise declaration, notice of lodging, and
                                                                                     proposed order to conform to first amended
                                                                                     complaint, and communicate with court clerk
                                                                                     regarding same
   03/21/20        C. Freeman           L240     A104           0.40          144.80 Analyze C.D. Cal. orders on COVID-19
                                                                                     procedures in preparation for motion-to-
                                                                                     dismiss filing




   03/23/20        N. Jampol            L120     A107           0.20          108.20 Communicate with Ms. Birla regarding status
                                                                                     and strategy
   03/23/20        C. Freeman           L240     A103           3.40        1,230.80 Review and revise motion to dismiss and
                                                                                     related papers to reflect additional changes
                                                                                     and comments from clients




   03/24/20        N. Jampol            L213     A106           0.20          108.20 Communicate with clients regarding motion to
                                                                                     dismiss first amended complaint




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 25 of 30 Page ID #:569

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                 Invoice #
                                                                                                       Page 5 of 8




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




   TOTAL




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 26 of 30 Page ID #:570




   Uncle George Productions LLC                                                            May 14, 2020
   Catherine Wolf McGrath                                                              Invoice #
   18 Camps Blvd., Suite 100                                                        ELECTRONIC BILLING
   Newtown Square, PA 19073
   cat@blindingedgepictures.com


   Matter Name: Gregorini Claim
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol (nicolasjampol@dwt.com)

   Client's Matter Number:
                                          Invoice for Fees and Costs
                                     ELECTRONIC BILLING – DO NOT MAIL
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   Total Current Fees
   Total Current Costs


   Total Amount Due This Invoice                                                         $




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 27 of 30 Page ID #:571

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                     Invoice #
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                                                      PROFESSIONAL FEES RENDERED:

   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




   04/06/20        N. Jampol            L213     A104           2.10        1,136.10 Review opposition to motion to dismiss first
                                                                                     amended complaint and communicate with
                                                                                     clients regarding same




   04/06/20        C. Freeman           L240     A103           2.90        1,049.80 Prepare outline for reply brief in further
                                                                                     support of motion to dismiss first amended
                                                                                     complaint




   04/07/20        C. Freeman           L240     A102           9.60        3,475.20 Analyze additional cases and prepare argument
                                                                                     regarding substantial similarity in connection
                                                                                     with primary copyright claim and response to
                                                                                     selection and arrangement theory for reply
                                                                                     brief in support of motion to dismiss first
                                                                                     amended complaint
   04/07/20        C. Pedraza           L110     A102           2.60          730.60 Research regarding similar scenes in third-party
                                                                                     works to those identified by plaintiff for reply
                                                                                     brief in further support of motion to dismiss
                                                                                     first amended complaint




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   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                     Invoice #
                                                                                                                          Page 3 of 10




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE
   04/08/20        C. Freeman           L240     A103           7.60        2,751.20 Analyze additional cases and prepare argument
                                                                                     regarding substantial similarity in connection
                                                                                     with additional script claims section of reply
                                                                                     brief in support of motion to dismiss first
                                                                                     amended complaint




   04/09/20        N. Jampol            L213     A103           8.80        4,760.80 Review and revise reply in support of motion to
                                                                                     dismiss first amended complaint and
                                                                                     communicate with clients regarding same




   04/10/20        N. Jampol            L213     A103           3.30        1,785.30 Communicate with clients regarding motion to
                                                                                     dismiss and review and revise motion to reflect
                                                                                     same
   04/10/20        N. Jampol            L213     A103           1.30          703.30 Review and revise response to Plaintiff's
                                                                                     objections to request for judicial notice



   04/10/20        C. Freeman           L240     A103           6.60        2,389.20 Prepare reply brief in support of request for
                                                                                     judicial notice




   04/13/20        N. Jampol            L213     A103           1.10          595.10 Review and revise proposed statement of
                                                                                     decision and communicate with clients
                                                                                     regarding same
   04/13/20        N. Jampol            L213     A106           1.30          703.30 Communicate with clients regarding motion to
                                                                                     dismiss and revise same
   04/13/20        C. Freeman           L240     A103           3.70        1,339.40 Prepare proposed statement of decision on
                                                                                     motion to dismiss first amended complaint, as
                                                                                     required by Judge Walter's standing order




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 29 of 30 Page ID #:573

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                                    Invoice #
                                                                                                                         Page 4 of 10




   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




   04/15/20        N. Jampol            L213     A104           0.30          162.30 Review Plaintiff's proposed statement of
                                                                                     decision in connection with motion to dismiss
                                                                                     first amended complaint




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Case 2:20-cv-00406-SSS-JC Document 44-2 Filed 06/23/20 Page 30 of 30 Page ID #:574

   Client Name: Uncle George Productions LLC
   Firm Matter Number: 0113237.000003
   DWT Attorney: Nicolas Jampol                                                                 Invoice #
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   DATE            TIMEKEEPER           TASK     ACTIVITY     HOURS          AMOUNT NARRATIVE




   TOTAL




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